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               IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TEXAS
                         EL PASO DIVISION

IVONNE MENDOZA,                         §
    Plaintiff,                          §
                                        §
v.                                      §                   EP-20-CV-24-PRM
                                        §
MIDLAND CREDIT                          §
MANAGEMENT, INC.,                       §
    Defendant.                          §

                  ORDER TO RETAIN LOCAL COUNSEL

      On this day, the Court sua sponte considered the above-captioned cause.

Plaintiff Ivonne Mendoza and Defendant Midland Credit Management, Inc.

have not yet retained local counsel for this action. Accordingly, the Court finds

that the parties should each retain a member of the Bar of this Court, who

maintains an office within the El Paso Division of the Western District of Texas,

as co-counsel with the authority to act as attorney of record for all purposes.

      Accordingly, IT IS ORDERED that Plaintiff Ivonne Mendoza and

Defendant Midland Credit Management, Inc. RETAIN local counsel as soon as

possible, but in no event later than April 13, 2020.

      SIGNED this 12th day of March, 2020.


                               ______________________________________
                               PHILIP R. MARTINEZ
                               UNITED STATES DISTRICT JUDGE
